Case 8:16-cv-01525-AG-JCG Document 38-1 Filed 04/03/17 Page 1 of 67 Page ID #:1034




                          EXHIBIT A
                                                                                                                                                                                      MAINTENANCE GUIDE
                                                                                                                                                                         WARRANTY &
                                                                                     COROLLA
                                                                                                      2 0 1 6
Case 8:16-cv-01525-AG-JCG Document 38-1 Filed 04/03/17 Page 2 of 67 Page ID #:1035




                                                                                                                                                                                                                                                                              0050516WMGCOR2
                                                                                     www.toyota.com




                                                                                                                                                                                                                                                                 Printed in U.S.A. 12/15
                                                                                                                                                                                                                                                                 15-TCS-08659
                                                                                                                                               OWNER INFORMATION CHANGE FORM
                                             If your name or address has changed                            Check one:               Same owner, name and/or address has changed                                  New owner, purchased vehicle used              EVV
                                                                                                                                      Same owner, additional driver who should receive product/safety updates
                                             or you purchased your Toyota as a
                                                                                                                                                                                                                 Effective date of
                                                                                                                                                                                                                 this information               /            /
                                             used vehicle, please complete and                                      Vehicle Identification Number (required to process change)                                                           Mo.          Day                   Year
                                                                                                                Mr.              Mrs.              Ms.              Miss                          Dr.
                                             mail the attached card, even if your
                                             warranty coverage has expired. This
                                                                                                                                     First name                                                M.I.                               Last name         Check here if
                                                                                                                                                                                                                                                    address below
                                             will enable Toyota to contact you with                                                                                                                                                                 is for company
                                                                                                                                                                     Company name
                                             important product or safety updates
                                                                                                                                                              Street address or P.O. Box                                                            Apt. or suite number
                                             concerning your vehicle. If the card
                                                                                                                                                                                                                                                    –
                                             is no longer attached, please call the                                                                    City                                                    State                           Zip code
                                                                                                                            –                      –                                                      –                –
                                             Toyota Customer Experience Center
                                                                                                                             Primary phone number                                                         Alternate phone number
                                                              at (800) 331-4331.                           E-mail address
                                                                                                           This information is obtained solely for the use of Toyota Motor Sales, U.S.A., Inc.
                                                                                                           Toyota occasionally sends special promotional offers to registered owners. Check here if you prefer not to receive these offers.
Case 8:16-cv-01525-AG-JCG Document 38-1 Filed 04/03/17 Page 3 of 67 Page ID #:1036




                                                                                     TOYOTA MOTOR SALES USA INC
                                                                                     CUSTOMER LOYALTY WC13

                                                                                     TORRANCE CA 90509-9809
                                                                                     PO BOX 2991
G Document 38-1 Filed 04/03/17Welcome
                                Page 4 of
                                       to 67
                                           the Page ID Family
                                               Toyota  #:1037

        2016 NOTAVAILABLE (COR)                     2016 NOTAVAILABLE (COR)




        T
               hank you for purchasing a Toyota     For more information about our vehicles,
              vehicle. We know you have many        our company or the products and services
              options when considering which        available for your vehicle, please visit
        vehicle to buy, and we appreciate your      Toyota’s official Web site,
        decision to select Toyota.                  www.toyota.com.

        We want you to enjoy owning your Toyota     We wish you many miles of safe and
        as much as you enjoy driving it. This       pleasurable driving, and we look forward
        booklet is designed to help. Here you’ll    to serving you in the years ahead.
        find information on Toyota’s warranty       Welcome to the Toyota family!
        coverage and maintenance recommenda-
        tions for your vehicle. There are two
        easy-to-follow sections: one for warranty
        and one for maintenance. The tab on the
        side of each page identifies the section
        you are in.




                                                                                               1
G Document 38-1
     Table of    Filed 04/03/17 Page 5 of 67 Page ID #:1038
              Contents




          WARRANTY INFORMATION


      Introduction
      Satisfaction Down the Road                         4
      If You Need Assistance                             5
      The Immobilizer Key                                7
      Transportation Assistance                          9


      Your Warranties in Detail
      General Warranty Provisions                       10
      New Vehicle Limited Warranty                      13
      Federal Emission Control Warranty                 17
      California Emission Control Warranty              23
      Tire Limited Warranty                             29


      Your Responsibilities
      Operation and Maintenance                         30
      Obtaining Warranty Service                        32




      2
G Document 38-1 Filed 04/03/17 Page 6 of 67  Page
                                          Table of ID #:1039
                                                    Contents




         MAINTENANCE INFORMATION


        Introduction
        The Importance of Scheduled Maintenance                                              34
        Maintaining Your Warranty                                                            35


        Maintenance Log
        Using the Maintenance Log Charts                                                     36
        Maintenance Log                                                                      38
        Explanation of Maintenance Items                                                     54
        Vehicle Identification                                                               58




                                                 Find It Online
                You can also find scheduled maintenance information for your vehicle at
                toyota.com/owners. Toyota Owners has all the information you need for your
                new vehicle in one place!

                • View Owner's Manuals online
                • Track your service history
                • Watch and learn with how-to-videos
                • Take advantage of service offer specials




                                                                                             3
G Document 38-1 Filed
     Satisfaction Down04/03/17
                       the RoadPage 7 of 67 Page ID #:1040




                  A
                           t Toyota, our top priority is always   Our goal is for every Toyota customer to
   INTRODUCTION




                           our customers. We know your            enjoy outstanding quality, dependability
                           Toyota is an important part of your    and peace of mind throughout their
                  life and something you depend on every          ownership experience. We want you to be
                  day. That’s why we’re dedicated to building     a satisfied member of the Toyota family
                  products of the highest quality and             for many miles to come.
                  reliability.
                                                                   This booklet describes the terms of
                  Our excellent warranty coverage is
                                                                   Toyota warranty coverage as well as
                  evidence that we stand behind the quality
                                                                   general owner responsibilities. The
                  of our vehicles. We’re confident — as you
                                                                   scheduled maintenance section
                  should be — that your Toyota will provide
                                                                   describes your vehicle’s maintenance
                  you with many years of enjoyable driving.
                                                                   requirements. Be sure to review this
                  To further demonstrate our commitment to         information carefully, since proper
                  our customers’ satisfaction, occasionally        maintenance is required to ensure that
                  we may establish a special policy                warranty coverage remains intact.
                  adjustment to pay for specific repairs that
                  are no longer covered by warranty. When
                                                                  All information in this booklet is the latest
                  we establish such a policy adjustment, we
                                                                  available at the time of publication and is
                  mail details to all applicable owners we
                                                                  subject to change without notice.
                  have on record. That’s why it’s important
                  to send in the card at the back of this
                  booklet if you change your address or if
                  you’ve purchased this vehicle from a
                  previous owner.
                  To provide you with added protection
                  against unexpected service costs, we offer
                  Toyota Financial Services vehicle service
                  agreements and Toyota Auto Care and
                  Toyota Care Plus pre-paid maintenance
                  programs. Each offers plans to meet a
                  wide variety of needs. Your dealership can
                  help you select the plan that’s best for
                  you.




                  4 Introduction
G Document 38-1 Filed 04/03/17 PageIf8 You
                                       of 67Need
                                              Page ID #:1041
                                                 Assistance




                                                         Step 3

        B
               oth Toyota and your Toyota dealer




                                                                                                          INTRODUCTION
               are dedicated to serving your
                                                         If your concern has still not been resolved
               automotive needs. Your complete
                                                         to your satisfaction, Toyota offers
        satisfaction is our first priority. Should you
                                                         additional assistance through the Dispute
        have a problem or concern — either
                                                         Settlement Program, a dispute resolution
        during or after the warranty period —
                                                         program administered by the National
        please take the following steps to ensure
                                                         Center for Dispute Settlement. The
        the quickest possible response:
                                                         purpose of the Dispute Settlement
        Step 1                                           Program is to resolve disputes through
                                                         arbitration — a process by which two
        Discuss the situation with a dealership
                                                         parties authorize an independent third
        manager, such as the service manager or
                                                         party to hear and resolve a dispute. The
        customer relations manager. In most
                                                         program is informal and free of charge. To
        cases, a satisfactory solution can be
                                                         request that your case be reviewed
        reached at this step.
                                                         through the program, complete the
        Step 2                                           customer claim form in the Owner’s
                                                         Warranty Rights Notification booklet
        If the dealership does not address your
                                                         (found in your glove box) and mail it to:
        concern to your satisfaction, call the
        Toyota Customer Experience Center at             National Center for Dispute Settlement
        (800) 331-4331.                                  P.O. Box 688
                                                         Mt. Clemens, MI 48046
        Please have the following information
        ready when you call:                             If you would like to request a customer
                                                         claim form, call the Toyota Customer
        • Your Toyota’s vehicle identification
                                                         Experience Center at (800) 331-4331.
          number (located on the driver’s side
                                                         When you call, please have your vehicle
          corner of the dashboard, under the
          window)                                        identification number, the current mileage
                                                         on your Toyota and the names of your
        • Current mileage on your vehicle
                                                         selling and servicing dealerships.
        • Name of your Toyota dealership
        A Toyota customer relations representative
        will assist you in working with the
        dealership to find a satisfactory solution.




                                                                                     Introduction     5
G Document
     If You 38-1
            Need Filed 04/03/17 Page 9 of 67 Page ID #:1042
                 Assistance




                  California residents: Toyota offers your
   INTRODUCTION




                  assistance through an informal dispute
                  settlement program called the California
                  Dispute Settlement Program (CDSP). A
                  brochure about the program is found in
                  your glove box. For additional information,
                  call the Toyota Customer Experience
                  Center at (800) 331-4331. You may also
                  contact the CDSP directly at (888)
                  300-6237. Failure to use the CDSP may
                  affect your rights and remedies under
                  California’s “Lemon Laws.”

                  This information about the Dispute
                  Settlement Programs is correct as of the
                  date of printing. However, the programs
                  may be changed without notice. For the
                  most current information about the
                  programs, call the Toyota Customer
                  Experience Center at (800) 331-4331.




                  6 Introduction
-JCG Document 38-1 Filed 04/03/17 PageThe
                                       10 of 67 Page IDKey
                                          Immobilizer
            #:1043

        THE NEW WORLD OF
        ANTI-THEFT TECHNOLOGY                           SECURITY
        This Toyota vehicle may be equipped with        For security purposes, access to key




                                                                                                       INTRODUCTION
        an electronic “immobilizer” anti-theft          codes and service procedures for
        system. When the key is inserted into the       electronically registering replacement keys
        ignition switch it transmits an electronic      is restricted. Only a Toyota dealer or
        code to an immobilizer computer. The            certain bonded/registered independent
        engine will only start if the code in the key   locksmiths can generate replacement keys.
        matches the code in the immobilizer. If the
        code does not match, the immobilizer
        disables the ignition and fuel systems.
        While an exact physical copy of the key
        will open the door and allow retrieval of
        items locked in the vehicle, it won’t start
        the vehicle unless the key has the same
        code as the immobilizer.




                                                                                    Introduction   7
-JCG Document 38-1 Filed
      The Immobilizer Key04/03/17 Page 11 of 67 Page ID
             #:1044


                  REPLACING THE KEY                              KEEPING THE KEY SAFE
                  Upon purchase, each vehicle should have        Replacing an immobilizer key may be
   INTRODUCTION




                  two master keys and an aluminum tag            costly. It is advisable to keep a spare
                  with a key-code imprinted on it.               master key and the aluminum key-code
                                                                 tag in a safe place. If you record the
                  To generate a fully functional replacement
                                                                 key-code in more than one place, do not
                  key (one that will both open the doors and
                                                                 record it in a way that can be easily
                  start the engine), one of the master keys
                                                                 identified and associated with the vehicle.
                  is required. To make a key that will open
                                                                 It is wise to keep a copy of the key-code
                  the door for retrieval of items locked
                                                                 outside of the vehicle.
                  inside the vehicle, the aluminum key-code
                  tag can be used. If a master key or the        If the vehicle was delivered with less than
                  aluminum key-code tag is not available, a      two keys and the aluminum key-code tag,
                  Toyota dealer or certain registered            consider having the Toyota dealer or a
                  locksmiths can obtain the key code from a      qualified independent automotive
                  restricted-access database. These              locksmith make a duplicate key before you
                  businesses can also access a service           need it.
                  utility to reprogram the immobilizer if all
                  registered master keys have been lost. If a
                  Toyota dealer is not available, please refer
                  to www.aloa.org to find a
                  bonded/registered locksmith who performs
                  high security key service.




                  8 Introduction
-JCG Document 38-1 Filed 04/03/17 Transportation
                                   Page 12 of 67 Assistance
                                                 Page ID
            #:1045




        W
                   e realize that your confidence in    The policy does not apply when warranty




                                                                                                        INTRODUCTION
                   the quality and reliability of our   repairs can be completed in one day but
                   products was a key factor in         the vehicle must be kept overnight due to
        your decision to buy a Toyota. We also          dealer or owner scheduling conflicts.
        know how disruptive the loss of
                                                        The Transportation Assistance Policy
        transportation can be to your daily routine.
                                                        applies for the duration of the New Vehicle
        That’s why we’re pleased to offer you the
                                                        Limited Warranty. The policy applies to all
        benefits of our Transportation Assistance
                                                        2016 model-year Toyotas sold and
        Policy.
                                                        serviced by authorized Toyota dealerships
        Under this policy, you are eligible for         in the mainland United States and Alaska.
        transportation assistance if your Toyota
                                                        For further details, please consult your
        must be kept overnight for
                                                        Toyota dealer.
        warranty-covered repairs. The policy
        applies when your vehicle must be kept
        overnight for any of the following reasons:

        • The warranty repairs will take longer
          than one day to complete.
        • The warrantable condition requires
          extensive diagnosis.
        • The parts needed for the warranty
          repairs are not readily available and
          your vehicle is inoperative or unsafe
          to drive.




                                                                                     Introduction   9
-JCG Document  38-1 Filed
      General Warranty    04/03/17 Page 13 of 67 Page ID
                        Provisions
              #:1046




                                                            Multiple Warranty Conditions
               Important: You must use the Dispute
               Settlement Program (or, in California,       This booklet contains warranty terms and
   WARRANTY




               the CDSP) before seeking remedies            conditions that may vary depending on the
               through a court action pursuant to the       part covered. A warranty for specific parts
               Magnuson-Moss Warranty Act (the              or systems, such as the Powertrain
               “Act”). However, if you choose to            Warranty or Emission Performance
               pursue rights and remedies not               Warranty, is governed by the coverage set
               created by the Act, you are not              forth in that warranty as well as the
               required to use the Dispute Settlement       General Warranty Provisions.
               Program (CDSP). You may also be
                                                            When Warranty Begins
               required to use the Dispute Settlement
               Program or CDSP before seeking               The warranty period begins on the
               remedies under the “Lemon Laws” of           vehicle’s in-service date, which is the first
               your state. Please check this booklet        date the vehicle is either delivered to an
               and the appropriate page of the              ultimate purchaser, leased, or used as a
               Owner’s Warranty Rights Notification         company car or demonstrator.
               booklet for additional information and       Repairs Made at No Charge
               the requirements applicable to your
               state.                                       Repairs and adjustments covered by these
                                                            warranties are made at no charge for parts
                                                            and labor.
              Who Is the Warrantor
                                                            Parts Replacement
              The warrantor for these limited warranties
              is Toyota Motor Sales, U.S.A., Inc.           Any needed parts replacement will be
              (“Toyota”), 19001 South Western Avenue,       made using new or remanufactured parts.
              Torrance, California 90509-2991, a            The decision whether a part should be
              California corporation.                       repaired or replaced will be made by the
                                                            servicing Toyota dealership and/or Toyota.
              Which Vehicles Are Covered                    Parts scheduled to be replaced as required
              These warranties apply to all 2016 model      maintenance are warranted until their first
              year Corolla vehicles distributed by Toyota   replacement only.
              that are originally sold by an authorized
              dealer in the United States and normally
              operated or touring in the United States,
              U.S. territories or Canada. Warranty
              coverage is automatically transferred at no
              cost to subsequent vehicle owners.




              10 Your Warranties in Detail
-JCG Document 38-1 Filed 04/03/17 PageWarranty
                               General 14 of 67 Page ID
                                                Provisions
            #:1047




        Informal Dispute Settlement                   Limitations
        Program                                       The performance of necessary repairs and




                                                                                                        WARRANTY
        Toyota offers assistance through an           adjustments is the exclusive remedy under
        informal dispute settlement program called    these warranties or any implied warranties.
        the Dispute Settlement Program. This          Toyota does not authorize any person to
        program is administered by an                 create for it any other obligation or liability
        independent third party:                      in connection with this vehicle.

        National Center for Dispute Settlement        Any implied warranty of merchantability
        P.O. Box 688                                  or fitness for a particular purpose is
        Mt. Clemens, MI 48046                         limited to the duration of these written
                                                      warranties. Some states do not allow
        Further information about this program
                                                      restrictions on how long an implied
        can be found in this booklet and the
                                                      warranty lasts, so this limitation may not
        Owner’s Warranty Rights Notification
                                                      apply to you.
        booklet.
                                                      Your Rights Under State Law
        California residents: Toyota offers you
        assistance through an informal dispute        These warranties give you specific legal
        settlement program called the California      rights. You may also have other rights that
        Dispute Settlement Program (CDSP). A          vary from state to state.
        brochure about the program is found in
        your glove box. For additional information,
        call the Toyota Customer Experience
        Center at (800) 331-4331. You may also
        contact the CDSP directly at (888)
        300-6237. Failure to use the CDSP may
        affect your rights and remedies under
        California’s “Lemon Laws.”




                                                                      Your Warranties in Detail   11
-JCG Document  38-1 Filed
      General Warranty    04/03/17 Page 15 of 67 Page ID
                        Provisions
              #:1048

              WARRANTY COVERAGE AT A GLANCE
   WARRANTY




                                                   York




              12 Your Warranties in Detail
-JCG Document 38-1 Filed 04/03/17 Page 16Limited
                             New Vehicle of 67 Page ID
                                                 Warranty
            #:1049

        WHAT IS COVERED AND
        HOW LONG
        Basic Warranty                               Transmission and Transaxle
        This warranty covers repairs and             Case and all internal parts, torque




                                                                                                      WARRANTY
        adjustments needed to correct defects in     converter, clutch cover, transmission
        materials or workmanship of any part         mounts, transfer case and all internal
        supplied by Toyota, subject to the           parts, engine control computer, seals and
        exceptions indicated under “What Is Not      gaskets.
        Covered” on pages 14-15.
                                                     Front-Wheel-Drive System
        Coverage is for 36 months or
                                                     Final drive housing and all internal parts,
        36,000 miles, whichever occurs first, with
                                                     axle shafts, drive shafts, constant velocity
        the exception of wheel alignment and
                                                     joints, front hub and bearings, seals and
        wheel balancing, which are covered for
                                                     gaskets.
        12 months or 12,000 miles, whichever
        occurs first.                                Rear-Wheel-Drive System
        Powertrain Warranty                          Axle housing and all internal parts,
        This warranty covers repairs needed to       propeller shafts, U-joints, axle shafts, drive
        correct defects in materials or              shafts, bearings, supports, seals and
        workmanship of any component listed          gaskets.
        below and in the next column and             Restraint Systems Warranty
        supplied by Toyota, subject to the
                                                     This warranty covers repairs needed to
        exceptions indicated under “What Is Not
                                                     correct defects in materials or
        Covered” on pages 14-15.
                                                     workmanship of any seatbelt or air bag
        Coverage is for 60 months or                 system supplied by Toyota, subject to the
        60,000 miles, whichever occurs first.        exceptions indicated under “What Is Not
                                                     Covered” on pages 14-15.
        Engine
                                                     Coverage is for 60 months or
        Cylinder block and head and all internal
                                                     60,000 miles, whichever occurs first.
        parts, timing gears and gaskets, timing
        chain/belt and cover, flywheel, valve        For vehicles sold and registered in the
        covers, oil pan, oil pump, engine mounts,    state of Kansas, the warranty for seatbelts
        turbocharger housing and all internal        and related components is 10 years,
        parts, supercharger housing and all          regardless of mileage.
        internal parts, engine control computer,
        water pump, fuel pump, seals and gaskets.




                                                                    Your Warranties in Detail   13
-JCG Document 38-1Limited
      New Vehicle   Filed 04/03/17
                           WarrantyPage 17 of 67 Page ID
            #:1050


                                                            WHAT IS NOT COVERED
              Corrosion Perforation Warranty                This warranty does not cover damage or
                                                            failures resulting directly or indirectly from
              This warranty covers repair or replacement
   WARRANTY




                                                            any of the following:
              of any original body panel that develops
              perforation from corrosion (rust-through),    • Fire, accidents or theft
              subject to the exceptions indicated under     • Abuse or negligence
              “What Is Not Covered” on pages 14-15.         • Misuse — for example, racing or
              Coverage is for 60 months, regardless of        overloading
              mileage.                                      • Improper repairs
                                                            • Alteration or tampering, including
              For information on how to protect your          installation of non-Genuine Toyota
              vehicle from corrosion, refer to sections       Accessories
              related to maintenance and care in the        • Lack of or improper maintenance,
              Owner’s Manual.                                 including use of fluids other than
              Towing                                          those specified in the Owner’s Manual
                                                            • Installation of non-Genuine Toyota
              When your vehicle is inoperable due to          Parts
              failure of a warranted part, towing service   • Airborne chemicals, tree sap, road
              to the nearest authorized Toyota dealership     debris (including stone chips), rail
              is covered.                                     dust, salt, hail, floods, wind storms,
                                                              lightning and other environmental
                                                              conditions
                                                            • Water contamination
                                                            This warranty also does not cover the
                                                            following:

                                                            Tires
                                                            Tires are covered by a separate warranty
                                                            provided by the tire manufacturer. See
                                                            page 29.

                                                            Normal Wear and Tear
                                                            Noise, vibration, cosmetic conditions and
                                                            other deterioration caused by normal wear
                                                            and tear.




              14 Your Warranties in Detail
-JCG Document 38-1 Filed 04/03/17 Page 18Limited
                             New Vehicle of 67 Page ID
                                                 Warranty
            #:1051




        Maintenance Expense                          Incidental Damages
        Normal maintenance services such as:         Incidental or consequential damages




                                                                                                    WARRANTY
                                                     associated with a vehicle failure. Such
        •   Engine tune-ups
                                                     damages include but are not limited to
        •   Replacement of fluids and filters        inconvenience; the cost of transportation,
        •   Lubrication                              telephone calls and lodging; the loss of
        •   Cleaning and polishing                   personal or commercial property; and the
        •   Replacement of spark plugs and fuses     loss of pay or revenue.
        •   Replacement of worn wiper blades,
            brake pads/linings and clutch linings     Disclaimer of Extra Expenses and
                                                      Damages
        Vehicles With Altered Odometer
                                                      The performance of necessary repairs
        Failure of a vehicle on which the odometer    and adjustments is the exclusive
        has been altered so that actual vehicle       remedy under this warranty or any
        mileage cannot be readily determined.         implied warranty. Toyota does not
        Salvage or Total-Loss Vehicles                authorize any person to create for it
                                                      any other obligation or liability in
        Any vehicle that has ever been issued a       connection with this vehicle. Toyota
        “salvage” title or similar title under any    shall not be liable for incidental or
        state’s law; or has ever been declared a      consequential damages resulting from
        “total loss” or equivalent by a financial     breach of this written warranty or any
        institution or insurer, such as by payment    implied warranty. Any implied warranty
        for a claim in lieu of repairs because the    of merchantability or fitness for a
        cost of repairs exceeded the cash value of    particular purpose is limited to the
        the vehicle. This exclusion does not apply    duration of this written warranty,
        to the emission control warranties.           except in states where this limitation is
                                                      not allowed.




                                                                   Your Warranties in Detail   15
-JCG Document 38-1Limited
      New Vehicle   Filed 04/03/17
                           WarrantyPage 19 of 67 Page ID
            #:1052


              DISPUTE RESOLUTION
              If a dispute arises regarding your warranty
              coverage, please follow the steps
   WARRANTY




              described under “If You Need Assistance”
              on page 5. Please note that you must use
              the Dispute Settlement Program (or, in
              California, the CDSP) before seeking
              remedies through a court action pursuant
              to the Magnuson-Moss Warranty Act. You
              may also be required to use the Dispute
              Settlement Program or CDSP before
              seeking remedies under the “Lemon Laws”
              of your state. Please check the appropriate
              page of the Owner’s Warranty Rights
              Notification booklet (located in your glove
              box) for the requirements applicable to
              your state.




              16 Your Warranties in Detail
-JCG Document 38-1 Filed Federal
                         04/03/17Emission
                                  Page 20 Control
                                          of 67 Page ID
                                                  Warranty
            #:1053

        WHAT IS COVERED AND
        HOW LONG
        Emission Defect Warranty                     Emission Performance Warranty
        Toyota warrants that your vehicle:           Some states and localities have




                                                                                                     WARRANTY
                                                     established vehicle inspection and
        • Was designed, built and equipped to
                                                     maintenance (I/M) programs to encourage
          conform at the time of sale with
                                                     proper vehicle maintenance. If an
          applicable federal emissions
          standards.                                 EPA-approved I/M program is in force in
                                                     your area, you are eligible for Emission
        • Is free from defects in materials and
          workmanship that may cause the             Performance Warranty coverage.
          vehicle to fail to meet these standards.   Under the terms of the Emission
        Federal regulations require that this        Performance Warranty and federal
        warranty be in effect for two years or       regulations, Toyota will make all necessary
        24,000 miles from the vehicle’s in-service   repairs if both of the following occur:
        date, whichever occurs first. However,
                                                     • Your vehicle fails to meet applicable
        under the terms of the Basic Warranty,         emissions standards as determined by
        Toyota provides coverage of three years or     an EPA-approved emissions test.
        36,000 miles, whichever occurs first.        • This failure results or will result in
        Specific components may have longer            some penalty to you — such as a fine
        coverage under the terms of the                or denial of the right to use your
        Powertrain Warranty. Additionally,             vehicle — under local, state or federal
        components marked “8/80” in the parts          law.
        list on pages 18–19 have coverage of
                                                     This warranty is in effect for two years or
        eight years or 80,000 miles, whichever
                                                     24,000 miles from the vehicle’s in-service
        occurs first.
                                                     date, whichever occurs first. Additionally,
                                                     components marked “8/80” in the parts
                                                     list on pages 18–19 have coverage of
                                                     eight years or 80,000 miles, whichever
                                                     occurs first.




                                                                    Your Warranties in Detail   17
-JCG Document  38-1 Filed
      Federal Emission    04/03/17
                        Control    Page 21 of 67 Page ID
                                Warranty
              #:1054


              WHAT IS NOT COVERED                                     WARRANTY PARTS LIST
              These warranty obligations do not apply to              Air/Fuel Metering System
              failures or noncompliance caused by:
                                                                      •   Air/fuel ratio feedback control system
   WARRANTY




              • The use of replacement parts not                      •   Cold-start enrichment system
                certified in accordance with                          •   Deceleration control system
                aftermarket parts certification                       •   Electronic fuel injection system
                regulations.                                              components
              • The use of replacement parts not                          – Airflow sensor
                equivalent in quality or design to                        – Engine control module (8/80)
                original equipment parts.                                 – Throttle body
              Provisions under the “What Is Not                           – Other components
              Covered” section of the New Vehicle                     Air Induction System
              Limited Warranty also apply to this
                                                                      • Intake manifold and intake air surge
              warranty.
                                                                        tank
                                                                      Catalyst System
                                                                      • Catalytic converter and protector
                                                                        (8/80)
                                                                      • Constricted fuel filler neck
                                                                      • Exhaust manifold
                                                                      • Exhaust pipe (manifold to catalyst
                                                                        and/or catalyst to catalyst)
                                                                      Evaporative Control System
                                                                      •   Charcoal canister
                                                                      •   Diaphragm valve
                                                                      •   Fuel filler cap
                                                                      •   Fuel tank
                                                                      •   Vapor liquid separator




              8/80 = Covered for eight years or 80,000 miles, whichever occurs first.

              18 Your Warranties in Detail
-JCG Document 38-1 Filed Federal
                         04/03/17Emission
                                  Page 22 Control
                                          of 67 Page ID
                                                  Warranty
            #:1055


                                                                MAINTENANCE
        Exhaust Gas Recirculation                               You are responsible for performance of
        (EGR) System                                            the required maintenance indicated in the




                                                                                                                     WARRANTY
                                                                Owner’s Manual and this booklet. Toyota
        • EGR gas temperature sensor
                                                                will not deny a warranty claim solely
        • EGR valve
                                                                because you do not have records to show
        • Associated parts                                      that you maintained your vehicle. However,
        Ignition System                                         any failure or noncompliance caused by
                                                                lack of maintenance is not covered by this
        •   Distributor and internal parts
                                                                warranty.
        •   Ignition coil and ignitor
        •   Ignition wires                                      When maintenance and repairs are paid
        •   Spark plugs*                                        for by you, these services may be
                                                                performed by you or by any automotive
        Positive Crankcase Ventilation                          service provider you choose. Toyota will
        (PCV) System                                            not deny a warranty claim solely
        • Oil filler cap                                        because you used a service provider
        • PCV valve or orifice                                  other than a Toyota dealership for
                                                                maintenance and repairs. However, any
        Other Parts Used in Above                               failure or noncompliance caused by
        Systems                                                 improper maintenance or repairs is not
        • Data link connector (8/80)                            covered by this warranty.
        • Hoses, clamps, fittings, tubing and
          mounting hardware
        • Malfunction indicator light and bulb
          (8/80)
        • Pulleys, belts and idlers
        • Sealing gaskets and devices
        • Sensors, solenoids, switches and
          valves




        * Warranted until first required maintenance under terms of the California Emission Control Warranty.
        8/80 = Covered for eight years or 80,000 miles, whichever occurs first.

                                                                                  Your Warranties in Detail     19
-JCG Document  38-1 Filed
      Federal Emission    04/03/17
                        Control    Page 23 of 67 Page ID
                                Warranty
              #:1056

                                                           IF YOUR VEHICLE FAILS
              REPLACEMENT PARTS                            AN EMISSIONS TEST
              To ensure optimum performance and            If your vehicle fails an EPA-approved
              maintain the quality built into your         emissions test, you may make a claim
   WARRANTY




              vehicle’s emission control systems, Toyota   under the Emission Performance Warranty.
              recommends the use of Genuine Toyota         To do so, take your vehicle to an
              Parts when servicing or repairing the        authorized Toyota dealership and present a
              systems.                                     copy of the emissions test report. Also,
                                                           take your maintenance records in case
              Warranty coverage is not dependent
                                                           they are needed.
              upon the use of any particular brand of
              replacement parts and you may elect to       If your claim qualifies for coverage, the
              use non-Genuine Toyota Parts for             dealership will repair your vehicle within
              maintenance and repairs. However, use        30 days (unless a shorter period is
              of replacement parts that are not            required by law). If your claim is denied,
              equivalent in quality to Genuine Toyota      Toyota will notify you in writing of the
              Parts may impair the effectiveness of the    reason within the same period. If we fail
              emission control systems.                    to do so, we will repair your vehicle free
                                                           of charge. The only exceptions allowed are
              If you use replacement parts that have
                                                           when you request or agree to a delay, or
              maintenance or replacement schedules
                                                           when a delay is caused by factors beyond
              different from those of Genuine Toyota
                                                           the control of Toyota or the dealership.
              Parts, you must follow the maintenance
              and replacement schedules for the parts      For information on how to obtain service
              you are using. In addition, you should       under the Emission Defect Warranty, see
              ensure that such parts are warranted by      page 32, “Obtaining Warranty Service.”
              their manufacturers to be equivalent to
              Genuine Toyota Parts.




              20 Your Warranties in Detail
-JCG Document 38-1 Filed Federal
                         04/03/17Emission
                                  Page 24 Control
                                          of 67 Page ID
                                                  Warranty
            #:1057


        IF YOU HAVE QUESTIONS
        If you have questions or concerns about
                                                   Vehicles equipped with a California
        your federal emission warranty coverage,
                                                   Certified Emission Control System that




                                                                                                  WARRANTY
        please refer to “If You Need Assistance”
                                                   are sold, registered and operated in
        on page 5. In the case of the Emission
                                                   California or any state that adopts
        Performance Warranty, you may also
                                                   California emission warranty provisions
        request information from or report
                                                   are also covered by the California
        complaints to:
                                                   Emission Control Warranty (see page
        U.S. Environmental Protection Agency       23). Currently, Connecticut, Delaware,
        Vehicle Programs & Compliance Division     Maine, Maryland, Massachusetts, New
        (6405J)                                    Jersey, New York, Oregon, Pennsylvania,
        Attn: Warranty Complaints                  Rhode Island, Vermont and Washington
        401 M Street SW                            are the other states to which the California
        Washington, D.C. 20460                     Emission Control Warranty applies.




                                                                 Your Warranties in Detail   21
-JCG Document  38-1 Filed
      Federal Emission    04/03/17
                        Control    Page 25 of 67 Page ID
                                Warranty
              #:1058


              DEALER CERTIFICATE
              We (the dealership) want you to know that        and use, Toyota will remedy the
              at the time your new Toyota vehicle is           nonconformity free of charge under
   WARRANTY




              being delivered:                                 the terms of the Emission
                                                               Performance Warranty.
              1) On the basis of written notification
                 furnished by Toyota, we have               5) If the vehicle was used as a company
                 knowledge that the vehicle is covered         car or demonstrator, check the box
                 by an EPA Certificate of Conformity.          and complete the following:

              2) We have visually inspected those           ❑ The vehicle with which this statement
                 emission control devices or portions         is delivered was placed into service as
                 thereof that are visible without             a company car or demonstrator prior
                 removing or adjusting any                    to delivery. The Emission Performance
                 components or systems,                       Warranty period commenced on the
                 emissions-related or otherwise. On           date the vehicle was first placed into
                 the basis of this inspection, there are      service, which was:
                 no apparent deficiencies in the
                 installation of emission control
                 devices by Toyota. (For purposes of
                 this certificate, “emission control              Month           Day          Year
                 devices” is limited to devices installed
                 on a vehicle for the sole or primary
                 purpose of controlling emissions and       Note: The dealership makes no
                 which were not in general use before       representation or warranty that the
                 1968.)                                     emission control system or any part
                                                            thereof is without defect or that the
              3) We have performed all emission
                                                            system will perform properly. The
                 control system preparations required
                                                            Emission Performance Warranty referred
                 by Toyota prior to the sale of the
                                                            to in Paragraph 4 and furnished with the
                 vehicle as set forth in Toyota’s current
                                                            vehicle is solely that of the manufacturer.
                 pre-delivery service manual.
                                                            This statement is required by section 207
              4) Except as may be provided in
                                                            of the Clean Air Act (42 U.S.C. 7541) and
                 Paragraph 5, if this vehicle fails an
                                                            the EPA regulations issued thereunder.
                 EPA-approved emissions test within
                 three months or 4,000 miles
                 (whichever comes first) of delivery to
                 the ultimate purchaser, and the
                 vehicle has been maintained and used                      Dealership Name
                 in accordance with the written
                 instructions for proper maintenance


              22 Your Warranties in Detail
-JCG Document 38-1 Filed 04/03/17Emission
                      California  Page 26 Control
                                          of 67 Page ID
                                                  Warranty
            #:1059

                                                        YOUR WARRANTY RIGHTS
                                                        AND OBLIGATIONS
                                                        The California Air Resources Board (CARB)
         Vehicles equipped with a California
                                                        and Toyota are pleased to explain the
         Certified Emission Control System that




                                                                                                        WARRANTY
                                                        emission control system warranty for your
         are sold, registered and operated in
                                                        2016 vehicle. In California, new motor
         California or any state that adopts
                                                        vehicles must be designed, built and
         California emission warranty provisions
                                                        equipped to meet the state’s stringent
         are covered by this warranty. Currently,
                                                        anti-smog standards. CARB regulations
         Connecticut, Delaware, Maine,
                                                        require that Toyota must warrant the
         Maryland, Massachusetts, New Jersey,
                                                        emission control system on your vehicle
         New York, Oregon, Pennsylvania, Rhode
                                                        for the time periods indicated on the next
         Island , V ermont and Washington are the
                                                        page, provided there has been no abuse,
         other states to which this warranty applies.
                                                        neglect or improper maintenance of your
         Vehicles covered by this warranty are
                                                        vehicle.
         also covered by the Federal Emission
         Control Warranty (see page 17).                Your emission control system may include
                                                        parts such as the fuel injection system,
                                                        ignition system, catalytic converter and
                                                        engine computer. Also included may be
                                                        hoses, belts, connectors and other
                                                        emissions-related assemblies.
                                                        Where a warrantable condition exists,
                                                        Toyota will repair your vehicle at no cost
                                                        to you, including diagnosis, parts and
                                                        labor.




                                                                       Your Warranties in Detail   23
-JCG Document
      California38-1  Filed 04/03/17
                 Emission            Page 27 of 67 Page ID
                            Control Warranty
               #:1060

               MANUFACTURER’S                               OWNER’S WARRANTY
               WARRANTY COVERAGE                            RESPONSIBILITIES
               1) For three years or 50,000 miles,          You are responsible for performance of
                  whichever occurs first:                   the required maintenance indicated in the
    WARRANTY




                 – If your vehicle fails a smog-check       Owner’s Manual and this booklet. Toyota
                   test, all necessary repairs and          recommends that you retain all receipts
                   adjustments will be made by Toyota       covering maintenance on your vehicle, but
                   to ensure that your vehicle passes       Toyota cannot deny warranty coverage
                   the test. This is your Emission          solely for the lack of receipts or your
                   Control System PERFORMANCE
                                                            failure to ensure the performance of all
                   WARRANTY.
                                                            scheduled maintenance.
                 – If an emissions-related part listed
                   on pages 18–19 is defective, the         You are responsible for presenting your
                   part will be repaired or replaced by     vehicle to a Toyota dealership as soon as
                   Toyota. This is your SHORT-TERM          a problem exists. The warranty repairs
                   Emission Control System DEFECT
                                                            should be completed in a reasonable
                   WARRANTY. Specific components
                                                            amount of time, not to exceed 30 days.
                   may have longer coverage under the
                   terms of the Powertrain Warranty.        You should also be aware that Toyota may
               2) For seven years or 70,000 miles,          deny you warranty coverage if your vehicle
                  whichever occurs first:                   or a part has failed due to abuse, neglect,
                 – If an emissions-related part listed      improper maintenance or unapproved
                   on page 25 is defective, the part will   modifications.
                   be repaired or replaced by Toyota.
                                                            If you have any questions regarding your
                   This is your LONG-TERM Emission
                                                            warranty rights and responsibilities, you
                   Control System DEFECT
                   WARRANTY.                                should contact the Toyota Customer
                                                            Experience Center at (800) 331-4331 or
                                                            the California Air Resources Board, Mobile
                                                            Source Control Division, at 9480 Telstar
                                                            Avenue, Suite 4, El Monte, CA 91731,
                                                            (800) 242-4450.




               24 Your Warranties in Detail
-JCG Document 38-1 Filed 04/03/17Emission
                      California  Page 28 Control
                                          of 67 Page ID
                                                  Warranty
            #:1061
                                                     PARTS LIST: LONG-TERM
                                                     EMISSION DEFECT
        WHAT IS NOT COVERED                          WARRANTY
        These warranty obligations do not apply to   The parts listed here are covered for seven
        failures or noncompliance caused by:         years or 70,000 miles from the vehicle’s




                                                                                                    WARRANTY
                                                     in-service date, whichever occurs first.
        • The use of replacement parts not
          certified in accordance with               Air/Fuel Metering System
          aftermarket parts certification
          regulations.                               • CV valve lift controller on models
                                                       equipped with 2ZR-FAE
        • The use of replacement parts not
          equivalent in quality or design to         • Engine control computer (engine
          original equipment parts.                    control module)
                                                     • Throttle body
        Provisions under the “What Is Not
        Covered” section of the New Vehicle          Air Induction System
        Limited Warranty also apply to this          • Intake manifold
        warranty.
                                                     Catalyst System
                                                     • Exhaust front pipe (including catalytic
                                                       converter)
                                                     Evaporative Control System
                                                     • Fuel tank
                                                     Other Parts Used in Systems
                                                     Listed
                                                     • Transmission solenoid on models
                                                       equipped with 2ZR-FAE




                                                                   Your Warranties in Detail   25
-JCG Document
      California38-1  Filed 04/03/17
                 Emission            Page 29 of 67 Page ID
                            Control Warranty
               #:1062


               MAINTENANCE                                  REPLACEMENT PARTS
               You are responsible for performance of       To ensure optimum performance and
               the required maintenance indicated in the    maintain the quality built into your
    WARRANTY




               Owner’s Manual and this booklet. Toyota      vehicle’s emission control systems, Toyota
               will not deny a warranty claim solely        recommends the use of Genuine Toyota
               because you do not have records to show      Parts when servicing or repairing the
               that you maintained your vehicle. However,   systems.
               any failure or noncompliance caused by
                                                            Warranty coverage is not dependent
               lack of maintenance is not covered by this
                                                            upon the use of any particular brand of
               warranty.
                                                            replacement parts and you may elect to
               When maintenance and repairs are paid        use non-Genuine Toyota Parts for
               for by you, these services may be            maintenance and repairs. However, use
               performed by you or by any automotive        of replacement parts that are not
               service provider you choose. Toyota will     equivalent in quality to Genuine Toyota
               not deny a warranty claim solely             Parts may impair the effectiveness of the
               because you used a service provider          emission control systems.
               other than a Toyota dealership for
                                                            If you use replacement parts that have
               maintenance and repairs. However, any
                                                            maintenance or replacement schedules
               failure or noncompliance caused by
                                                            different from those of Genuine Toyota
               improper maintenance or repairs is not
                                                            Parts, you must follow the maintenance
               covered by this warranty.
                                                            and replacement schedules for the parts
                                                            you are using. In addition, you should
                                                            ensure that such parts are warranted by
                                                            their manufacturers to be equivalent to
                                                            Genuine Toyota Parts.




               26 Your Warranties in Detail
-JCG Document 38-1 Filed 04/03/17Emission
                      California  Page 30 Control
                                          of 67 Page ID
                                                  Warranty
            #:1063

        IF YOUR VEHICLE FAILS A
        SMOG-CHECK TEST                              REPAIR DELAYS
        If your vehicle fails a smog-check test,     If a Toyota dealership is unable to
        you may make a claim under the Emission      complete repairs on your vehicle within




                                                                                                     WARRANTY
        Performance Warranty. To do so, take your    30 days, you may have the repairs made
        vehicle to an authorized Toyota dealership   under Toyota’s provisions for emergency
        and present a copy of the smog-check test    warranty repairs. See page 32 for details.
        report. Also, take your maintenance
        records in case they are needed.

        If your claim qualifies for coverage, the
        dealership will repair your vehicle within
        30 days (unless a shorter period is
        required by law). If your claim is denied,
        Toyota will notify you in writing of the
        reason within the same period. If we fail
        to do so, we will repair your vehicle free
        of charge. The only exceptions allowed are
        when you request or agree to a delay, or
        when a delay is caused by factors beyond
        the control of Toyota or the dealership.
        For information on how to obtain service
        under the Emission Defect Warranty, see
        page 32, “Obtaining Warranty Service.”




                                                                    Your Warranties in Detail   27
-JCG Document
      California38-1  Filed 04/03/17
                 Emission            Page 31 of 67 Page ID
                            Control Warranty
               #:1064


               IF YOU HAVE QUESTIONS
               If you have questions or concerns about
               your vehicle’s California emission warranty
    WARRANTY




               coverage, please follow the steps
               described under “If You Need Assistance”
               on pages 5. You may also request
               information from or report complaints to:

               California Air Resources Board
               Mobile Source Control Division
               9480 Telstar Avenue
               Suite 4
               El Monte, CA 91731
               (800) 242-4450




               28 Your Warranties in Detail
-JCG Document 38-1 Filed 04/03/17 Page 32Limited
                                    Tire of 67 Page ID
                                                 Warranty
            #:1065

        OBTAINING WARRANTY                              ORIGINAL EQUIPMENT
        SERVICE                                         TIRE MANUFACTURERS
        The tires that come as original equipment       American Kenda Rubber
        on your vehicle are warranted by their          7095 Americana Parkway
                                                        Reynoldsburg, OH 43068




                                                                                                       WARRANTY
        manufacturer and not Toyota. A separate
        warranty statement for the tires is in your     (866) 536–3287
        glove box.                                      Bridgestone/Firestone
                                                        535 Marriott Drive
        To obtain service for a tire defect, take the
                                                        Nashville, TN 37214
        tire to an authorized dealer of the tire
                                                        Bridgestone: (800) 847-3272
        manufacturer. (Refer to your local phone        Firestone: (800) 356-4644
        directory for dealer locations.) Your Toyota
        dealer may also be able to assist you in        Continental Tire of North America
        obtaining warranty service from the             1800 Continental Blvd.
                                                        Charlotte, NC 28273
        manufacturer.
                                                        (800) 847-3349
        For additional warranty information or
                                                        Dunlop Tires
        service assistance, contact the tire            1144 East Market Street
        manufacturer directly.                          Akron, OH 44316
                                                        (800) 321–2136
                                                        Goodyear Tire and Rubber Co.
                                                        1144 East Market Street
                                                        Akron, OH 44316
                                                        (800) 321–2136
                                                        Hankook Tire America Corporation
                                                        1450 Valley Road
                                                        Wayne, NJ 07470
                                                        (800) 426-5665
                                                        Michelin North America
                                                        One Park Way South
                                                        P.O. Box 19001
                                                        Greenville, SC 29602
                                                        (800) 847-3435
                                                        Toyo Tire (U.S.A.) Corporation
                                                        6261 Katella Ave., Suite 2B
                                                        Cypress, CA 90630
                                                        (800) 442-8696
                                                        Yokohama Tire Corporation
                                                        1 MacArthur Place, Suite 800
                                                        Santa Ana, CA 92707
                                                        (800) 722-9888


                                                                      Your Warranties in Detail   29
-JCG Document
      Operation38-1  Filed 04/03/17 Page 33 of 67 Page ID
                and Maintenance
              #:1066

                                                             WHERE TO GO FOR
               GENERAL INFORMATION                           MAINTENANCE
               You are responsible for ensuring that your    You may have maintenance performed on
               Toyota is operated and maintained             your vehicle by any qualified person or
    WARRANTY




               according to the instructions in the          facility. However, Toyota recommends
               Owner’s Manual and this booklet.              having maintenance performed by an
                                                             authorized Toyota dealership.
               You should keep detailed records of
               vehicle maintenance, since under some         Toyota dealership technicians are specially
               circumstances they may be required for        trained to maintain and repair Toyota
               warranty coverage. These records should       vehicles. They stay current on the latest
               include date of service, mileage at time of   service information through Toyota
               service and a description of service          technical bulletins, service publications
               performed and/or parts installed. For your    and training courses. Many are also
               convenience, a maintenance log is             certified through the Toyota Certification
               included in this booklet. If you sell your    Program, which involves a series of
               vehicle, you should give your maintenance     rigorous written examinations. Feel free to
               records to the new owner.                     ask any Toyota dealership to show you
                                                             their technicians’ credentials.
               Toyota will not deny a warranty claim
               solely because you do not have records to     You can be confident you’re getting the
               show that you maintained your vehicle.        best possible service for your vehicle
               However, damage or failures caused by         when you take it to a Toyota dealership.
               lack of proper maintenance are not
               covered under warranty.




               30 Your Responsibilities
-JCG Document 38-1 Filed 04/03/17Operation
                                   Page 34 and
                                           of 67Maintenance
                                                 Page ID
            #:1067


        REPLACEMENT PARTS
        Warranty coverage is not dependent upon        Genuine Toyota Parts are covered by their
        the use of any particular brand of             own warranty (see your dealer for details)




                                                                                                      WARRANTY
        replacement parts. However, Toyota             or the remainder of any applicable New
        recommends using only Genuine Toyota           Vehicle Limited Warranty, whichever is
        Parts when you need to replace a part on       longer. Non-Genuine Toyota Parts, or any
        your vehicle. Like all Toyota products,        damage or failures resulting from their
        Genuine Toyota Parts are built to the          use, are not covered by any Toyota
        highest standards of quality, durability and   warranty.
        performance. They are also designed to fit
        your vehicle’s exact specifications.

        Your Toyota dealership maintains an
        extensive inventory of Genuine Toyota
        Parts to meet your vehicle service needs.
        And because it is linked electronically to
        Toyota’s Parts Distribution Centers, the
        dealership has quick access to any parts it
        may not have in stock.




                                                                         Your Responsibilities   31
-JCG Document
      Obtaining38-1  Filed 04/03/17
                Warranty   Service Page 35 of 67 Page ID
              #:1068


              BY GEOGRAPHIC REGION                          EMERGENCY REPAIRS
              In the United States, U.S.                    If your vehicle is inoperable or unsafe to
              Territories, Canada and Mexico                drive and there is no Toyota dealership
   WARRANTY




                                                            reasonably available to make repairs, you
              To obtain warranty service in the United
                                                            may perform the repairs yourself or have
              States, U.S. territories, Canada or Mexico,
                                                            them performed by another automotive
              take your vehicle to an authorized Toyota
                                                            service provider. Toyota will reimburse you
              dealership. If your vehicle cannot be
                                                            for any of the repairs that are covered by
              driven, contact your nearest Toyota
                                                            warranty. To receive reimbursement,
              dealership for towing assistance. You do
                                                            present to an authorized Toyota dealership
              not have to pay for towing to the nearest
                                                            your paid repair invoices and any parts
              Toyota dealership if your vehicle is
                                                            that were removed from the vehicle. You
              inoperable due to failure of a warranted
                                                            will be reimbursed for warranted parts at
              part.
                                                            the manufacturer’s suggested retail price
              Outside the United States, U.S.               and warranted labor at a geographically
              Territories, Canada and Mexico                appropriate hourly rate multiplied by
              If you are using your vehicle outside the     Toyota’s recommended time allowance for
              United States, U.S. territories, Canada and   the repair.
              Mexico and need warranty service, contact     If your vehicle requires emergency repair,
              a local Toyota dealership. Please note,       Toyota assumes no liability for subsequent
              however, that your vehicle may not be         failures caused by improper repairs or the
              repaired free of charge because the local     use of non-Genuine Toyota Parts unless
              Toyota distributor may have no obligation     you have the vehicle properly repaired in a
              to provide warranty service for your          timely manner. To ensure that warranty
              vehicle, and/or your vehicle may not          coverage remains intact, have your vehicle
              comply with local regulatory or               inspected by an authorized Toyota
              environmental requirements.                   dealership as soon as possible after an
                                                            emergency repair.




              32 Your Responsibilities
-JCG Document 38-1 Filed 04/03/17 Page 36 of 67 PageNotes
                                                    ID
            #:1069




                                                                        WARRANTY




                                           Your Responsibilities   33
-JCG Document 38-1 Filed
      The Importance     04/03/17 Page
                     of Scheduled      37 of 67 Page ID
                                  Maintenance
             #:1070




                 R
                          egular maintenance is essential to    In addition to scheduled maintenance,
                          obtaining the highest level of        your vehicle requires ongoing general
                          performance, safety and reliability   maintenance such as fluid checks and
                 from your Toyota. It can also increase         visual inspections. These procedures are
                 your vehicle’s resale value. The following     explained in the “Maintenance and Care”
                 pages are designed to help you make sure       section of the Owner’s Manual. Be sure to
                 your vehicle receives proper and timely        perform these procedures regularly to
                 maintenance. Along with other important        ensure the most trouble-free operation of
                 information related to vehicle service,        your vehicle.
                 you’ll find factory-recommended
                                                                With proper maintenance and care, your
                 maintenance guidelines and a log in which
                                                                vehicle will last longer and deliver more
                 to document your vehicle’s maintenance
                                                                dependable, economical performance.
                 history.
                                                                Follow this booklet’s recommendations
                                                                and you’ll enjoy maximum reliability and
                                                                peace of mind from your Toyota for many
                                                                years to come.
   MAINTENANCE




                 34 Maintenance Log
-JCG Document 38-1 Filed 04/03/17Maintaining
                                  Page 38 of 67
                                             YourPage ID
                                                  Warranty
            #:1071

        IMPORTANT MAINTENANCE
        INFORMATION
        It is especially important to both            Maintenance Providers
        routinely check your vehicle’s engine oil
                                                      Maintenance and repair services may be
        level (once a month) and regularly
                                                      performed by you or by any automotive
        replace the engine oil and oil filter (see
                                                      service provider you choose. Toyota will
        the Maintenance Log section of this
                                                      not deny a warranty claim solely because
        booklet to determine how often you
                                                      you used a service provider other than a
        should change your vehicle’s oil and
                                                      Toyota dealership for maintenance and
        filter). Failure to do so can cause oil
                                                      repairs. However, damage or failure
        starvation and or oil gelling, which can
                                                      caused by improper maintenance or
        result in severe damage to your vehicle
                                                      repairs are not covered under warranty.
        and require costly repairs that are not
        covered by the New Vehicle Limited            Dealer-Recommended
        Warranty.                                     Maintenance
        Maintenance Records                           Your dealer may recommend more
                                                      frequent maintenance intervals or more
        Maintaining your vehicle according to the
                                                      maintenance services than those listed in
        recommendations in this booklet is
                                                      the scheduled maintenance log. These
        required to ensure that your warranty
                                                      additional services are not required to
        coverage remains intact. You should keep
                                                      maintain your warranty coverage. Ask your
        detailed records of vehicle maintenance,
                                                      dealer to explain any recommended
        including date of service, mileage at time
                                                      maintenance not included in the scheduled
        of service and a description of service
                                                      maintenance log.
        and/or parts installation performed. The
        scheduled maintenance log in this booklet      For a complete description of Toyota
        can help you document this information. If     warranty coverages, see the Warranty
        you sell your vehicle, be sure to give your    Information portion of this booklet.
        maintenance records to the new owner.
                                                                                                   MAINTENANCE




        Toyota will not deny a warranty claim
        solely because you do not have records to
        show that you maintained your vehicle.
        However, damage or failure caused by lack
        of proper maintenance are not covered
        under warranty.




                                                                           Maintenance Log    35
-JCG Document
      Using the38-1  Filed 04/03/17
                Maintenance         Page 39 of 67 Page ID
                               Log Charts
              #:1072




                                                                • If at six months you have driven less

                  R
                          egular maintenance is essential to
                          obtaining the highest level of          than 5,000 miles, you should obtain
                          performance from your Toyota. It        maintenance at six months - don’t
                  can also increase your vehicle’s resale         wait until 5,000 miles.
                  value. This booklet presents Toyota’s         Be sure to keep an eye on your mileage
                  maintenance recommendations in                so that you obtain maintenance when
                  convenient checklists, so you can easily      recommended. If you are a low-mileage
                  see what type of maintenance your vehicle     driver, mark your calendar to remind
                  needs and document that the work was          yourself to obtain maintenance every six
                  performed.                                    months.
                  To ensure that your vehicle receives          Documenting Your Investment
                  first-quality service and parts, Toyota
                                                                To help you verify that you’ve invested in
                  recommends having maintenance
                                                                proper maintenance, each maintenance
                  performed by an authorized Toyota
                                                                checklist includes space for your Toyota
                  dealership. Toyota dealership technicians
                                                                dealership to certify that you obtained
                  are experts on Toyota vehicles, and they
                                                                Genuine Toyota Service for your vehicle.
                  use Genuine Toyota Parts designed to your
                                                                The dealership may mark the dealer
                  vehicle’s exact specifications. When you
                                                                service verification area with the following
                  go to a Toyota dealership, you can be
                                                                stamp (which may be customized with the
                  confident that they will use Genuine Toyota
                                                                dealership’s name):
                  parts and have Toyota-trained technicians.

                  Miles or Months?
                  Toyota recommends obtaining scheduled
                  maintenance for your vehicle every
                  5,000 miles or six months, whichever
                  comes first.
    MAINTENANCE




                  For example:

                  • If you drive 5,000 miles in less than
                    six months, you should obtain
                    maintenance at 5,000 miles - don’t
                    wait until six months.




                  36 Maintenance Log
-JCG Document 38-1 Filed 04/03/17
                         Using the Page 40 of 67 Log
                                    Maintenance  PageCharts
                                                      ID
            #:1073




        Special Operating Conditions                  SuperChrome and Alloy Wheel
        In addition to standard maintenance items,
                                                      Care
        the maintenance log indicates services that   If you purchased genuine Toyota
        should be performed on vehicles that are      accessory Aluminum Alloy Wheels, follow
        driven under especially demanding             these cleaning guidelines to maintain the
        conditions. These “special operating          appearance of your alloy wheels:
        conditions” and their required maintenance
                                                      • If wheels are hot, wait for them to
        items are clearly indicated in each chart.
                                                        cool before washing.
                                                      • Use a soft sponge or cotton cloth to
         NOTE: You should perform these
                                                        apply the same mild car-wash soap as
         additional maintenance services only if
                                                        used for the vehicle body. Quickly
         the majority of your driving is done           rinse off with water. Use a soft cloth
         under the special operating conditions         to apply the same car wax as used for
         indicated. If you only occasionally            the vehicle body.
         drive under these circumstances, it is       • DO NOT USE: Any kind of chemical
         not necessary to perform the                   based cleaners, alcohol, solvents,
         additional services.                           gasoline, steam cleaners, scouring
                                                        pads, wire brushes, or coarse
                                                        abrasives to clean your wheels.
        Engine Oil Selection
        Please refer to your Owner’s Manual for
        the specific oil viscosity rating
        recommended for your vehicle/engine
        type.

        Additional Maintenance
        In addition to scheduled maintenance,
                                                                                                  MAINTENANCE




        your Toyota requires ongoing general
        maintenance such as fluid checks and
        visual inspections. These procedures are
        explained in the ЉMaintenance and CareЉ
        section of the Owner’s Manual. Be sure to
        perform these procedures regularly to
        ensure the most trouble-free operation of
        your vehicle.




                                                                           Maintenance Log   37
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 41 of 67 Page ID
             #:1074



                         5,000 miles or 6 months                     10,000 miles or 12 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Rotate tires                                  Replace engine oil and oil filter 1
                     Visually inspect brake linings/drums and      Rotate tires
                     brake pads/discs                              Visually inspect brake linings/drums and
                                                                   brake pads/discs
                  Additional Maintenance Items for
                  Special Operating Conditions 2                 Additional Maintenance Items for
                                                                 Special Operating Conditions 2
                 Driving on dirt roads or dusty roads:
                     Inspect ball joints and dust covers        Driving on dirt roads or dusty roads:
                     Inspect drive shaft boots                     Inspect ball joints and dust covers
                     Inspect engine air filter                     Inspect drive shaft boots
                     Inspect steering linkage and boots            Inspect engine air filter
                     Replace engine oil and oil filter 1           Inspect steering linkage and boots
                     Tighten nuts and bolts on chassis and         Tighten nuts and bolts on chassis and
                     body                                          body

                 Driving while towing, using a car-top          Driving while towing, using a car-top
                 carrier, or heavy vehicle loading4:            carrier, or heavy vehicle loading4:
                     Replace engine oil and oil filter 1           Tighten nuts and bolts on chassis and
                     Tighten nuts and bolts on chassis and         body
                     body

                 Repeated trips of less than five miles in
                 temperatures below 32°F / 0°C:
                                                         1
                     Replace engine oil and oil filter

                 Extensive idling and/or low speed driving
                 for a long distance such as police, taxi or
                 door-to-door delivery use:
                                                         1
                     Replace engine oil and oil filter
   MAINTENANCE




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 38 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 42 Maintenance
                                          of 67 Page IDLog
            #:1075



                                              15,000 miles or 18 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Rotate tires
               Visually inspect brake linings/drums and brake pads/discs

             Note: If 0W-20 oil WAS NOT used at the last oil change, replace engine oil and oil filter.1
            Inspect the following:
             __   Ball joints and dust covers                        __   Exhaust pipes and mountings
             __   Brake lines and hoses                              __   Radiator and condenser
             __   Drive shaft boots                                  __   Steering gear box
             __   Engine coolant 3                                   __   Steering linkage and boots
             Note: Driving in heavy traffic, on dirt roads or in urban, dusty or desert areas may
             shorten the life of the cabin air filter. Replacement may be needed if you notice reduced
             air flow from the air conditioner and heater or if the windows fog easily when you use
             the ЉFreshЉ mode. Consult your dealer if any of these conditions occur.
                                                                                            2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Inspect engine air filter
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading4 :
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Repeated trips of less than five miles in temperatures below 32°F / 0°C:
                                                     1
               Replace engine oil and oil filter

            Extensive idling and/or low speed driving for a long distance such as police, taxi or
                                                                                                                             MAINTENANCE




            door-to-door delivery use:
                                                     1
               Replace engine oil and oil filter


            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:




        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        4
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                Maintenance Log        39
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 43 of 67 Page ID
             #:1076



                       20,000 miles or 24 months                     25,000 miles or 30 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Replace engine oil and oil filter 1           Rotate tires
                     Rotate tires                                  Visually inspect brake linings/drums and
                     Visually inspect brake linings/drums and      brake pads/discs
                     brake pads/discs
                                                                 Note: If 0W-20 oil WAS NOT used at
                  Additional Maintenance Items for               the last oil change, replace engine oil
                  Special Operating Conditions 2                 and oil filter.1

                 Driving on dirt roads or dusty roads:
                                                                 Additional Maintenance Items for
                     Inspect ball joints and dust covers
                     Inspect drive shaft boots                   Special Operating Conditions 2
                     Inspect engine air filter                  Driving on dirt roads or dusty roads:
                     Inspect steering linkage and boots            Inspect ball joints and dust covers
                     Tighten nuts and bolts on chassis and         Inspect drive shaft boots
                     body                                          Inspect engine air filter
                 Driving while towing, using a car-top             Inspect steering linkage and boots
                 carrier, or heavy vehicle loading5:               Replace engine oil and oil filter 1
                     Tighten nuts and bolts on chassis and         Tighten nuts and bolts on chassis and
                     body                                          body

                                                                Driving while towing, using a car-top
                                                                carrier, or heavy vehicle loading5:
                                                                   Replace engine oil and oil filter 1
                                                                   Tighten nuts and bolts on chassis and
                                                                   body

                                                                Repeated trips of less than five miles in
                                                                temperatures below 32°F / 0°C:
                                                                                                       1
                                                                   Replace engine oil and oil filter
   MAINTENANCE




                                                                Extensive idling and/or low speed driving
                                                                for a long distance such as police, taxi or
                                                                door-to-door delivery use:
                                                                                                       1
                                                                   Replace engine oil and oil filter




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 40 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 44 Maintenance
                                          of 67 Page IDLog
            #:1077



                                              30,000 miles or 36 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Replace cabin air filter
               Replace engine air filter
               Replace engine oil and oil filter 1
               Rotate tires

            Inspect the following:
             __ Ball joints and dust covers                          __ Fuel lines and connections, fuel tank
             __ Brake lines and hoses                                   band and fuel tank vapor vent system
             __ Brake linings/drums and brake                           hoses
                pads/discs 3                                         __ Fuel tank cap gasket
             __ Drive shaft boots                                    __ Radiator and condenser
             __ Engine coolant 4                                     __ Steering gear box
             __ Exhaust pipes and mountings                          __ Steering linkage and boots
             __ Front differential oil                               __ Transmission for signs of leakage

                                                                                            2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading5 :
               Replace front differential oil (manual transmission only)
               Replace manual transmission oil
               Tighten nuts and bolts on chassis and body
                                                                                                                             MAINTENANCE




            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:



        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Inspect thickness measurement and disc runout.
        4
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        5
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                Maintenance Log        41
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 45 of 67 Page ID
             #:1078



                       35,000 miles or 42 months                     40,000 miles or 48 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Rotate tires                                  Replace engine oil and oil filter 1
                     Visually inspect brake linings/drums and      Rotate tires
                     brake pads/discs                              Visually inspect brake linings/drums and
                                                                   brake pads/discs
                   Note: If 0W-20 oil WAS NOT used at
                   the last oil change, replace engine oil       Additional Maintenance Items for
                   and oil filter.1                              Special Operating Conditions 2

                                                                Driving on dirt roads or dusty roads:
                  Additional Maintenance Items for
                                                                   Inspect ball joints and dust covers
                  Special Operating Conditions 2                   Inspect drive shaft boots
                 Driving on dirt roads or dusty roads:
                                                                   Inspect engine air filter
                     Inspect ball joints and dust covers           Inspect steering linkage and boots
                     Inspect drive shaft boots                     Tighten nuts and bolts on chassis and
                     Inspect engine air filter                     body
                     Inspect steering linkage and boots         Driving while towing, using a car-top
                     Replace engine oil and oil filter 1        carrier, or heavy vehicle loading4:
                     Tighten nuts and bolts on chassis and         Tighten nuts and bolts on chassis and
                     body                                          body
                 Driving while towing, using a car-top
                 carrier, or heavy vehicle loading4:
                     Replace engine oil and oil filter 1
                     Tighten nuts and bolts on chassis and
                     body

                 Repeated trips of less than five miles in
                 temperatures below 32°F / 0°C:
                                                         1
                     Replace engine oil and oil filter
   MAINTENANCE




                 Extensive idling and/or low speed driving
                 for a long distance such as police, taxi or
                 door-to-door delivery use:
                                                         1
                     Replace engine oil and oil filter




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 42 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 46 Maintenance
                                          of 67 Page IDLog
            #:1079



                                              45,000 miles or 54 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Rotate tires
               Visually inspect brake linings/drums and brake pads/discs

             Note: If 0W-20 oil WAS NOT used at the last oil change, replace engine oil and oil filter.1
            Inspect the following:
             __   Ball joints and dust covers                        __   Exhaust pipes and mountings
             __   Brake lines and hoses                              __   Radiator and condenser
             __   Drive shaft boots                                  __   Steering gear box
             __   Engine coolant 3                                   __   Steering linkage and boots
             Note: Driving in heavy traffic, on dirt roads or in urban, dusty or desert areas may
             shorten the life of the cabin air filter. Replacement may be needed if you notice reduced
             air flow from the air conditioner and heater or if the windows fog easily when you use
             the ЉFreshЉ mode. Consult your dealer if any of these conditions occur.
                                                                                            2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Inspect engine air filter
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading4 :
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Repeated trips of less than five miles in temperatures below 32°F / 0°C:
                                                     1
               Replace engine oil and oil filter

            Extensive idling and/or low speed driving for a long distance such as police, taxi or
                                                                                                                             MAINTENANCE




            door-to-door delivery use:
                                                     1
               Replace engine oil and oil filter


            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:




        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        4
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                Maintenance Log        43
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 47 of 67 Page ID
             #:1080



                       50,000 miles or 60 months                     55,000 miles or 66 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Replace engine oil and oil filter 1           Rotate tires
                     Rotate tires                                  Visually inspect brake linings/drums and
                     Visually inspect brake linings/drums and      brake pads/discs
                     brake pads/discs
                                                                 Note: If 0W-20 oil WAS NOT used at
                  Additional Maintenance Items for               the last oil change, replace engine oil
                  Special Operating Conditions 2                 and oil filter.1

                 Driving on dirt roads or dusty roads:
                                                                 Additional Maintenance Items for
                     Inspect ball joints and dust covers
                     Inspect drive shaft boots                   Special Operating Conditions 2
                     Inspect engine air filter                  Driving on dirt roads or dusty roads:
                     Inspect steering linkage and boots            Inspect ball joints and dust covers
                     Tighten nuts and bolts on chassis and         Inspect drive shaft boots
                     body                                          Inspect engine air filter
                 Driving while towing, using a car-top             Inspect steering linkage and boots
                 carrier, or heavy vehicle loading6:               Replace engine oil and oil filter 1
                     Tighten nuts and bolts on chassis and         Tighten nuts and bolts on chassis and
                     body                                          body

                                                                Driving while towing, using a car-top
                                                                carrier, or heavy vehicle loading6:
                                                                   Replace engine oil and oil filter 1
                                                                   Tighten nuts and bolts on chassis and
                                                                   body

                                                                Repeated trips of less than five miles in
                                                                temperatures below 32°F / 0°C:
                                                                                                       1
                                                                   Replace engine oil and oil filter
   MAINTENANCE




                                                                Extensive idling and/or low speed driving
                                                                for a long distance such as police, taxi or
                                                                door-to-door delivery use:
                                                                                                       1
                                                                   Replace engine oil and oil filter




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 44 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 48 Maintenance
                                          of 67 Page IDLog
            #:1081



                                              60,000 miles or 72 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Replace cabin air filter
               Replace engine air filter
               Replace engine oil and oil filter 1
               Rotate tires

            Inspect the following:
             __ Ball joints and dust covers                          __ Fuel lines and connections, fuel tank
             __ Brake lines and hoses                                   band and fuel tank vapor vent system
             __ Brake linings/drums and brake                           hoses
                pads/discs 3                                         __ Fuel tank cap gasket
             __ Drive belts 4                                        __ Radiator and condenser
             __ Drive shaft boots                                    __ Steering gear box
             __ Engine coolant 5                                     __ Steering linkage and boots
             __ Exhaust pipes and mountings                          __ Transmission for signs of leakage
             __ Front differential oil

                                                                                            2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading6 :
               Replace front differential oil
               Replace transmission fluid or oil
               Tighten nuts and bolts on chassis and body                                                                    MAINTENANCE




            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:


        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Inspect thickness measurement and disc runout.
        4
            Initial inspection at 60,000 miles/72 months. Inspect every 15,000 miles/18 months thereafter.
        5
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        6
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                Maintenance Log        45
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 49 of 67 Page ID
             #:1082



                       65,000 miles or 78 months                     70,000 miles or 84 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Rotate tires                                  Replace engine oil and oil filter 1
                     Visually inspect brake linings/drums and      Rotate tires
                     brake pads/discs                              Visually inspect brake linings/drums and
                                                                   brake pads/discs
                   Note: If 0W-20 oil WAS NOT used at
                   the last oil change, replace engine oil       Additional Maintenance Items for
                   and oil filter.1                              Special Operating Conditions 2

                                                                Driving on dirt roads or dusty roads:
                  Additional Maintenance Items for
                                                                   Inspect ball joints and dust covers
                  Special Operating Conditions 2                   Inspect drive shaft boots
                 Driving on dirt roads or dusty roads:
                                                                   Inspect engine air filter
                     Inspect ball joints and dust covers           Inspect steering linkage and boots
                     Inspect drive shaft boots                     Tighten nuts and bolts on chassis and
                     Inspect engine air filter                     body
                     Inspect steering linkage and boots         Driving while towing, using a car-top
                     Replace engine oil and oil filter 1        carrier, or heavy vehicle loading4:
                     Tighten nuts and bolts on chassis and         Tighten nuts and bolts on chassis and
                     body                                          body
                 Driving while towing, using a car-top
                 carrier, or heavy vehicle loading4:
                     Replace engine oil and oil filter 1
                     Tighten nuts and bolts on chassis and
                     body

                 Repeated trips of less than five miles in
                 temperatures below 32°F / 0°C:
                                                         1
                     Replace engine oil and oil filter
   MAINTENANCE




                 Extensive idling and/or low speed driving
                 for a long distance such as police, taxi or
                 door-to-door delivery use:
                                                         1
                     Replace engine oil and oil filter




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 46 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 50 Maintenance
                                          of 67 Page IDLog
            #:1083



                                              75,000 miles or 90 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Rotate tires
               Visually inspect brake linings/drums and brake pads/discs

             Note: If 0W-20 oil WAS NOT used at the last oil change, replace engine oil and oil filter.1
            Inspect the following:
             __   Ball joints and dust covers                        __   Exhaust pipes and mountings
             __   Brake lines and hoses                              __   Radiator and condenser
             __   Drive belts                                        __   Steering gear box
             __   Drive shaft boots                                  __   Steering linkage and boots
             __   Engine coolant 3
             Note: Driving in heavy traffic, on dirt roads or in urban, dusty or desert areas may
             shorten the life of the cabin air filter. Replacement may be needed if you notice reduced
             air flow from the air conditioner and heater or if the windows fog easily when you use
             the ЉFreshЉ mode. Consult your dealer if any of these conditions occur.
                                                                                            2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Inspect engine air filter
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading4 :
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Repeated trips of less than five miles in temperatures below 32°F / 0°C:
                                                     1
               Replace engine oil and oil filter
                                                                                                                             MAINTENANCE




            Extensive idling and/or low speed driving for a long distance such as police, taxi or
            door-to-door delivery use:
                                                     1
               Replace engine oil and oil filter

            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:




        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        4
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                Maintenance Log        47
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 51 of 67 Page ID
             #:1084



                       80,000 miles or 96 months                    85,000 miles or 102 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Replace engine oil and oil filter 1           Rotate tires
                     Rotate tires                                  Visually inspect brake linings/drums and
                     Visually inspect brake linings/drums and      brake pads/discs
                     brake pads/discs
                                                                 Note: If 0W-20 oil WAS NOT used at
                  Additional Maintenance Items for               the last oil change, replace engine oil
                  Special Operating Conditions 2                 and oil filter.1

                 Driving on dirt roads or dusty roads:
                                                                 Additional Maintenance Items for
                     Inspect ball joints and dust covers
                     Inspect drive shaft boots                   Special Operating Conditions 2
                     Inspect engine air filter                  Driving on dirt roads or dusty roads:
                     Inspect steering linkage and boots            Inspect ball joints and dust covers
                     Tighten nuts and bolts on chassis and         Inspect drive shaft boots
                     body                                          Inspect engine air filter
                 Driving while towing, using a car-top             Inspect steering linkage and boots
                 carrier, or heavy vehicle loading5:               Replace engine oil and oil filter 1
                     Tighten nuts and bolts on chassis and         Tighten nuts and bolts on chassis and
                     body                                          body

                                                                Driving while towing, using a car-top
                                                                carrier, or heavy vehicle loading5:
                                                                   Replace engine oil and oil filter 1
                                                                   Tighten nuts and bolts on chassis and
                                                                   body

                                                                Repeated trips of less than five miles in
                                                                temperatures below 32°F / 0°C:
                                                                                                       1
                                                                   Replace engine oil and oil filter
   MAINTENANCE




                                                                Extensive idling and/or low speed driving
                                                                for a long distance such as police, taxi or
                                                                door-to-door delivery use:
                                                                                                       1
                                                                   Replace engine oil and oil filter




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 48 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 52 Maintenance
                                          of 67 Page IDLog
            #:1085



                                             90,000 miles or 108 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Replace cabin air filter
               Replace engine air filter
               Replace engine oil and oil filter 1
               Rotate tires

            Inspect the following:
             __ Ball joints and dust covers                          __ Fuel lines and connections, fuel tank
             __ Brake lines and hoses                                   band and fuel tank vapor vent system
             __ Brake linings/drums and brake                           hoses
                pads/discs 3                                         __ Fuel tank cap gasket
             __ Drive belts                                          __ Radiator and condenser
             __ Drive shaft boots                                    __ Steering gear box
             __ Engine coolant 4                                     __ Steering linkage and boots
             __ Exhaust pipes and mountings                          __ Transmission for signs of leakage
             __ Front differential oil

                                                                                            2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading5 :
               Replace front differential oil (manual transmission only)
               Replace manual transmission oil
               Tighten nuts and bolts on chassis and body                                                                    MAINTENANCE




            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:



        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Inspect thickness measurement and disc runout.
        4
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        5
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                Maintenance Log        49
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 53 of 67 Page ID
             #:1086



                      95,000 miles or 114 months                   100,000 miles or 120 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Rotate tires                                  Replace engine coolant 3
                     Visually inspect brake linings/drums and      Replace engine oil and oil filter1
                     brake pads/discs                              Rotate tires
                                                                   Visually inspect brake linings/drums and
                   Note: If 0W-20 oil WAS NOT used at              brake pads/discs
                   the last oil change, replace engine oil
                   and oil filter.1                              Additional Maintenance Items for
                                                                 Special Operating Conditions 2
                  Additional Maintenance Items for
                                                                Driving on dirt roads or dusty roads:
                  Special Operating Conditions 2                   Inspect ball joints and dust covers
                 Driving on dirt roads or dusty roads:
                                                                   Inspect drive shaft boots
                     Inspect ball joints and dust covers           Inspect engine air filter
                     Inspect drive shaft boots                     Inspect steering linkage and boots
                     Inspect engine air filter                     Tighten nuts and bolts on chassis and
                     Inspect steering linkage and boots            body
                     Replace engine oil and oil filter 1        Driving while towing, using a car-top
                     Tighten nuts and bolts on chassis and      carrier, or heavy vehicle loading5:
                     body                                          Tighten nuts and bolts on chassis and
                                                                   body
                 Driving while towing, using a car-top
                 carrier, or heavy vehicle loading5:
                     Replace engine oil and oil filter 1
                     Tighten nuts and bolts on chassis and
                     body

                 Repeated trips of less than five miles in
                 temperatures below 32°F / 0°C:
                                                         1
                     Replace engine oil and oil filter
   MAINTENANCE




                 Extensive idling and/or low speed driving
                 for a long distance such as police, taxi or
                 door-to-door delivery use:
                                                         1
                     Replace engine oil and oil filter




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 50 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 54 Maintenance
                                          of 67 Page IDLog
            #:1087



                                              105,000 miles or 126 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Rotate tires
               Visually inspect brake linings/drums and brake pads/discs

             Note: If 0W-20 oil WAS NOT used at the last oil change, replace engine oil and oil filter.1
            Inspect the following:
             __   Ball joints and dust covers                          __   Exhaust pipes and mountings
             __   Brake lines and hoses                                __   Radiator and condenser
             __   Drive belts                                          __   Steering gear box
             __   Drive shaft boots                                    __   Steering linkage and boots
             __   Engine coolant 4
             Note: Driving in heavy traffic, on dirt roads or in urban, dusty or desert areas may
             shorten the life of the cabin air filter. Replacement may be needed if you notice reduced
             air flow from the air conditioner and heater or if the windows fog easily when you use
             the ЉFreshЉ mode. Consult your dealer if any of these conditions occur.
                                                                                               2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Inspect engine air filter
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading5 :
               Replace engine oil and oil filter 1
               Tighten nuts and bolts on chassis and body

            Repeated trips of less than five miles in temperatures below 32°F / 0°C:
                                                       1
               Replace engine oil and oil filter
                                                                                                                                 MAINTENANCE




            Extensive idling and/or low speed driving for a long distance such as police, taxi or
            door-to-door delivery use:
                                                       1
               Replace engine oil and oil filter

            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:


        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Initial replacement at 100,000 miles/120 months. Replace every 50,000 miles/60 months thereafter. Refer to
            “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more information.
        4
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        5
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                   Maintenance Log         51
-JCG Document 38-1 Log
      Maintenance   Filed 04/03/17 Page 55 of 67 Page ID
             #:1088



                     110,000 miles or 132 months                   115,000 miles or 138 months
                     Check installation of driver’s floor mat      Check installation of driver’s floor mat
                     Inspect and adjust all fluid levels           Inspect and adjust all fluid levels
                     Inspect wiper blades                          Inspect wiper blades
                     Replace engine oil and oil filter 1           Rotate tires
                     Rotate tires                                  Visually inspect brake linings/drums and
                     Visually inspect brake linings/drums and      brake pads/discs
                     brake pads/discs
                                                                 Note: If 0W-20 oil WAS NOT used at
                  Additional Maintenance Items for               the last oil change, replace engine oil
                  Special Operating Conditions 2                 and oil filter.1

                 Driving on dirt roads or dusty roads:
                                                                 Additional Maintenance Items for
                     Inspect ball joints and dust covers
                     Inspect drive shaft boots                   Special Operating Conditions 2
                     Inspect engine air filter                  Driving on dirt roads or dusty roads:
                     Inspect steering linkage and boots            Inspect ball joints and dust covers
                     Tighten nuts and bolts on chassis and         Inspect drive shaft boots
                     body                                          Inspect engine air filter
                 Driving while towing, using a car-top             Inspect steering linkage and boots
                 carrier, or heavy vehicle loading6:               Replace engine oil and oil filter 1
                     Tighten nuts and bolts on chassis and         Tighten nuts and bolts on chassis and
                     body                                          body

                                                                Driving while towing, using a car-top
                                                                carrier, or heavy vehicle loading6:
                                                                   Replace engine oil and oil filter 1
                                                                   Tighten nuts and bolts on chassis and
                                                                   body

                                                                Repeated trips of less than five miles in
                                                                temperatures below 32°F / 0°C:
                                                                                                       1
                                                                   Replace engine oil and oil filter
   MAINTENANCE




                                                                Extensive idling and/or low speed driving
                                                                for a long distance such as police, taxi or
                                                                door-to-door delivery use:
                                                                                                       1
                                                                   Replace engine oil and oil filter




                  DEALER SERVICE VERIFICATION:                  DEALER SERVICE VERIFICATION:

                  DATE:                                         DATE:
                  MILEAGE:                                      MILEAGE:

                 52 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 56 Maintenance
                                          of 67 Page IDLog
            #:1089



                                             120,000 miles or 144 months
               Check installation of driver’s floor mat
               Inspect and adjust all fluid levels
               Inspect wiper blades
               Replace cabin air filter
               Replace engine air filter
               Replace engine oil and oil filter 1
               Replace spark plugs 3
               Replace vacuum pump (vane type) for brake booster (VALVEMATIC engine only)
               Rotate tires

            Inspect the following:
             __ Ball joints and dust covers                          __ Fuel lines and connections, fuel tank
             __ Brake lines and hoses                                   band and fuel tank vapor vent system
             __ Brake linings/drums and brake                           hoses
                pads/discs 4                                         __ Fuel tank cap gasket
             __ Drive belts                                          __ Radiator and condenser
             __ Drive shaft boots                                    __ Steering gear box
             __ Engine coolant 5                                     __ Steering linkage and boots
             __ Exhaust pipes and mountings                          __ Transmission for signs of leakage
             __ Front differential oil

                                                                                            2
             Additional Maintenance Items for Special Operating Conditions

            Driving on dirt roads or dusty roads:
               Tighten nuts and bolts on chassis and body

            Driving while towing, using a car-top carrier, or heavy vehicle loading6 :
               Replace front differential oil
               Replace transmission fluid or oil
               Tighten nuts and bolts on chassis and body
                                                                                                                             MAINTENANCE




            DEALER SERVICE VERIFICATION:

            DATE:
            MILEAGE:


        1
            Reset the oil replacement reminder light (“MAINT REQD”) or the message “OIL MAINTENANCE REQUIRED” on the
            multi-information display after maintenance at every 5,000 miles.
        2
            Perform these service items only if you drive primarily under the conditions indicated.
        3
            Maintenance services of spark plugs are required under the terms of the Emission Control Warranty.
        4
            Inspect thickness measurement and disc runout.
        5
            Refer to “Engine Coolant” in the “Explanation of Maintenance Items” section in the back of this guide for more
            information.
        6
            Not all vehicles are designed for towing. Refer to your Vehicle Owner’s Manual for details.

                                                                                                Maintenance Log        53
-JCG Document  38-1of Filed
      Explanation           04/03/17 Items
                      Maintenance      Page 57 of 67 Page ID
              #:1090




                                                                Brake Lines and Hoses

                  T
                        he following descriptions are
                        provided to give you a better
                                                                Visually inspect for proper installation.
                        understanding of the maintenance
                                                                Check for chafing, cracks, deterioration
                  items that should be performed on your
                                                                and signs of leakage. Replace any
                  vehicle. The scheduled maintenance log
                                                                deteriorated or damaged parts. A qualified
                  indicates at which mileage/time intervals
                                                                technician should perform these
                  each item should be performed. Please
                                                                operations.
                  note that many maintenance items should
                  be performed only by a qualified              Brake Linings/Drums and Brake
                  technician.                                   Pads/Discs
                                                                Check the brake linings (shoes) and
                   For further information on maintenance       drums for scoring, burning, fluid leakage,
                   items you can perform yourself, see          broken parts and excessive wear. Check
                   the “Maintenance and Care” section of        the pads for excessive wear and the discs
                   the Owner’s Manual.                          for runout, excessive wear and fluid
                                                                leakage. Replace any deteriorated or
                  Automatic Transmission Fluid or               damaged parts. A qualified technician
                  Manual Transmission Oil                       should perform these operations.

                  Inspect or replace at specified intervals.    Cabin Air Filter
                  When performing inspections, check each       Replace at specified intervals. Driving in
                  component for signs of leakage. If you        heavy traffic, on dirt roads or in urban,
                  discover any leakage, have it repaired by a   desert or dusty areas may shorten filter’s
                  qualified technician immediately.             life. More frequent replacement may be
                  Ball Joints and Dust Covers                   necessary.

                  Check the suspension and steering linkage     Drive Belts
    MAINTENANCE




                  ball joints for looseness and damage.         Inspect for cracks, excessive wear and
                  Check all dust covers for deterioration and   oiliness. Check the belt tension and adjust
                  damage. Replace any deteriorated or           if necessary. Replace the belts if they are
                  damaged parts. A qualified technician         damaged.
                  should perform these operations.




                  54 Maintenance Log
-JCG Document 38-1 Filed 04/03/17  Page
                          Explanation of 58 of 67 PageItems
                                         Maintenance   ID
            #:1091




        Drive Shaft Boots                            Engine Coolant
        Check the drive shaft boots and clamps       Drain the cooling system and refill with an
        for cracks, deterioration and damage.        ethylene-glycol type coolant. Inspect hoses
        Replace any deteriorated or damaged parts    and connections for corrosion and leaks.
        and, if necessary, repack the grease. A      Tighten connections and replace parts
        qualified technician should perform these    when necessary. A qualified technician
        operations.                                  should perform these operations. (For
                                                     further details, refer to ЉRadiator,
        Driver’s Floor Mat                           Condenser and HosesЉ in the
        • Only use the driver’s floor mat            ЉMaintenance and CareЉ section of the
          designed specifically for the model        Owner’s Manual).
          and model year of your vehicle.
        • Always properly secure the driver’s         Your Toyota is equipped with Genuine
          floor mat using the retaining hooks.        Toyota Super Long-Life Coolant. The
        • Never install another floor mat on top      replacement intervals for engine
          of the existing driver’s floor mat.         coolant recommended in this booklet
        • Never install the driver’s floor mat        are based on replacement with
          upside down.                                Genuine Toyota Super Long-Life
        Engine Air Filter                             Coolant or similar high-quality
                                                      non-silicate, non-amine, non-borate
        Inspect or replace at specified intervals.    ethylene-glycol coolant with long-life
        When performing inspections, check for        hybrid organic acid technology (i.e., a
        damage, excessive wear and oiliness, and      combination of low phosphates and
        replace if necessary.                         organic acids). If another type of
                                                      ethylene-glycol coolant is used,
                                                      replacement intervals may be different.
                                                                                                   MAINTENANCE




                                                                           Maintenance Log   55
-JCG Document  38-1of Filed
      Explanation           04/03/17 Items
                      Maintenance      Page 59 of 67 Page ID
              #:1092




                  Engine Oil and Oil Filter                      Fuel Lines and Connections,
                  Replace the oil filter and drain and refill
                                                                 Fuel Tank Band and Fuel Tank
                  the engine oil at specified intervals. For
                                                                 Vapor Vent System Hoses
                  recommended oil grade and viscosity,           Visually inspect for corrosion, damage,
                  refer to the Owner’s Manual.                   cracks, and loose or leaking connections.
                                                                 Tighten connections or replace parts as
                  NOTE: Your vehicle is certified with
                                                                 necessary.
                  Genuine Toyota 0W20 motor oil. For
                  VEHICLES CERTIFIED FOR 0W20 motor              Fuel Tank Cap Gasket
                  oil, the oil change interval is 10,000 miles
                                                                 Visually inspect for cracks, deterioration
                  or 12 months IF 0W20 MOTOR OIL IS
                                                                 and damage and replace if necessary.
                  BEING USED. If 0W20 is not available,
                  5W20 mineral oil may be used. However,         Nuts and Bolts on Chassis and
                  it must be replaced at A 5,000 miles or        Body
                  6 month INTERVAL with 0W20 motor oil.          Re-tighten the seat-mounting bolts and
                  For customers who primarily drive their        front/rear suspension member retaining
                  vehicle under any of the listed Special        bolts to specified torque.
                  Operating Conditions, the motor oil and
                                                                 Radiator and Condenser
                  filter should be replaced at 5,000 miles or
                  6 months, REGARDLESS OF THE OIL                Inspect for debris, corrosion and signs of
                  USED (OR CERTIFICATION OF THE                  damage. Have any problem repaired
                  VEHICLE).                                      immediately by a qualified technician.

                  Exhaust Pipes and Mountings                    Spark Plugs
                  Visually inspect the exhaust pipes, muffler    Replace at specified intervals. Install new
                  and hangers for cracks, deterioration and      plugs of the same type as originally
                  damage. Start the engine and listen            equipped. A qualified technician should
    MAINTENANCE




                  carefully for any exhaust gas leakage.         perform this operation.
                  Tighten connections or replace parts as        Steering Gear Box
                  necessary.
                                                                 Inspect for signs of leakage. If you
                  Front Differential Oil                         discover any leakage, have it repaired
                  Inspect or replace at specified intervals.     immediately by a qualified technician.
                  When performing inspections, check each
                  component for signs of leakage. If you
                  discover any leakage, have it repaired by a
                  qualified technician immediately.




                  56 Maintenance Log
-JCG Document 38-1 Filed 04/03/17  Page
                          Explanation of 60 of 67 PageItems
                                         Maintenance   ID
            #:1093




        Steering Linkage and Boots                  Vacuum Pump (Vane Type) For
        With the vehicle stopped, check for
                                                    Brake Booster
        excessive freeplay in the steering wheel.   Replace at specified intervals. A qualified
        Inspect the linkage for bending and         technician should perform this operation.
        damage and the dust boots for
        deterioration, cracks and damage. Replace
                                                    Wiper Blades
        any damaged parts. A qualified technician   The wiper blades should not show any
        should perform these operations.            signs of cracking, splitting, wear,
                                                    contamination or deformation. The wiper
        Tire Rotation                               blades should clear the windshield without
        Tires should be rotated according to the    streaking or skipping.
        instructions in the Owner’s Manual. When
        rotating tires, check for damage and
        uneven wear. Replace if necessary.




                                                                                                   MAINTENANCE




                                                                           Maintenance Log    57
-JCG Document  38-1 Filed 04/03/17 Page 61 of 67 Page ID
      Vehicle Identification
              #:1094




                 Model



                 In-service date



                 Selling dealership



                 Key number



                 Body style



                 Mileage at delivery



                 Selling dealership phone number



                 Vehicle Identification Number
   MAINTENANCE




                 58 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 62 of 67 PageNotes
                                                    ID
            #:1095




                                                                    MAINTENANCE




                                             Maintenance Log   59
-JCG Document
      Notes 38-1 Filed 04/03/17 Page 63 of 67 Page ID
            #:1096
   MAINTENANCE




                 60 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 64 of 67 PageNotes
                                                    ID
            #:1097




                                                                    MAINTENANCE




                                             Maintenance Log   61
-JCG Document
      Notes 38-1 Filed 04/03/17 Page 65 of 67 Page ID
            #:1098
   MAINTENANCE




                 62 Maintenance Log
-JCG Document 38-1 Filed 04/03/17 Page 66 of 67 PageNotes
                                                    ID
            #:1099




                                                                    MAINTENANCE




                                             Maintenance Log   63
-JCG Document
      Notes 38-1 Filed 04/03/17 Page 67 of 67 Page ID
            #:1100
   MAINTENANCE




                 64 Maintenance Log
